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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )          1:06-CR-00253 OWW
                    Plaintiff,     )
     vs.                           )
                                   )          ORDER EXONERATING BOND
DANIEL MEDRANO                     )          AND FOR RETURN OF NOTES
                                   )          AND DEEDS OF TRUST
                    Defendants.    )
___________________________________)


     The above-named defendant having been sentenced, and

now being in the custody of the Bureau of Prisons, it is hereby

ordered that the bond be exonerated and all notes and deeds of

trust be returned to the sureties.

Deed # 0206243413




IT IS SO ORDERED.

Dated: December 17, 2009               /s/ Oliver W. Wanger
emm0d6                            UNITED STATES DISTRICT JUDGE
